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                   UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF CONNECTICUT


IN RE AGGRENOX ANTITURST
LITIGATION                          C.A. No. 3:14-MD-2516 (SRU)


THIS DOCUMENT RELATES TO:

DIRECT PURCHASER ACTIONS




     DIRECT PURCHASER CLASS PLAINTIFFS’ REPLY TO DEFENDANTS’
   MEMORANDUM IN RESPONSE TO THE COURT’S ORDER TO SHOW CAUSE
                  (REDACATED PUBLIC VERSION)
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                                   I.      INTRODUCTION

         Defendants were ordered to show cause why the Court should not deny defendants’

requests for “extensive” discovery and “restrict[] discovery and evidence in this case to the

market in Aggrenox and any AB-rated bioequivalent substitute for Aggrenox.” Order to Show

Cause, ECF No. 432 at 1, 2 (Jan. 8, 2016). Defendants’ Memorandum in Response to the Order

to Show Cause (Feb. 5, 2016) (“Response”) fails to establish why they should be entitled such

extensive discovery. As the Court observed, direct evidence is available here of defendants’

ability to set prices at supracompetitive levels. And as this case centers on defendants’ reverse

payment agreement, the only prices at issue are those for branded and generic Aggrenox -- the

only products and prices affected by the agreement.

         In their Response, defendants offer demonstrably disingenuous arguments, supported not

by factual evidence, but by the expert declaration of Dr. Summanth Addanki, who alternates

between denying that defendant Boehringer Ingelheim (“BI”) had market power and admitting in

other sections of his report that BI, in fact, enjoyed premium pricing on Aggrenox.1 And rather

than offering actual data within defendants’ possession concerning BI’s research and

development (“R&D”) costs for Aggrenox (a drug combining two molecules that have been

marketed for decades), defendants rely on a study evaluating the cost to develop new chemical

products – a study which itself has been criticized for vastly inflating R&D costs.

         Defendants say that this Court must allow their extensive discovery on relevant market

issues, but they discuss the concept of market definition in the abstract. This is a mistake: any

analysis of market power must be assessed in the context of the restraint at issue. See, e.g.,

Geneva Pharm. Tech. Corp. v. Barr Labs. Inc., 386 F.3d 485, 496 (2d Cir. 2004) (purpose of

1
    Declaration of Summanth Addanki, Ph.D. (Feb. 5, 2016) (“Addanki Decl.”).


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analyzing market power is to “provide[] the context against which to measure the competitive

effects of an agreement.”); U.S. Healthcare, Inc. v. Healthsource, Inc., 986 F.2d 589, 598 (1st

Cir. 1993) (one must ask “why we are [asking the question in the first place]: that is, what is the

antitrust question in this case that market definition aims to answer?”).2 Here, the question the

jury must ultimately address is whether defendants’ reverse payment agreements caused

anticompetitive effects (higher prices for dipyridamole/aspirin). See FTC v. Actavis, Inc., 133 S.

Ct. 2223 (2013).3 The answer does not require the definition of a relevant market and thus does

not require discovery on that point. This is because, as Actavis observed, a large reverse

payment is a “‘strong indicator’” of market power. 133 S. Ct. at 2236 (citation omitted)..4

Discovery regarding the “relevant market” is certainly not necessary to evaluate whether a

reverse payment is large. Defendants do not address this authority.

         The Supreme Court’s observation make perfect sense. If a large reverse payment was not

sufficient evidence that BI had market power over Aggrenox, it would have made no sense at all

for BI to pay Barr/Teva to delay generic Aggrenox marketing. The Supreme Court recognized

this expressly. Actavis, 133 S. Ct. at 2236 (“Neither is a firm without [market] power likely to

pay large sums to induce others to stay out of its market.”) (quotes omitted). Delaying a drop in

dipyridamole/aspirin prices preserved BI’s control over Aggrenox pricing. Control over pricing


2
 See also F. Fisher, Detecting Market Power, in ABA Section of Antitrust Law, ISSUES IN
COMPETITION LAW AND POLICY 355 (2008) (“relevant market” is the market relevant to the
“potentially anticompetitive act.”); Ariel Katz, Making Sense of Alleged Nonsense: Intellectual
Property, Antitrust and Market Power, 49 ARIZ. L. REV. 837, 880 (2007) (“Without a specific
challenged conduct, a specific context and an identified antitrust question that demands an
answer, the ‘market’ is an empty concept in antitrust analysis”).
3
    Dipyridamole and aspirin are the active ingredients in Aggrenox.
4
  See Phillip E. Areeda and Herbert Hovenkamp, ANTITRUST LAW ¶ 2046d4 (2015 Supp.)
(noting the Supreme Court’s observation “should dispense with any requirement of a relevant
market definition” because “a large payment surely indicates power” and is “a better estimator of
power than traditional market definition approaches.”).
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is, by definition, market power.

       This is not just theory. The undisputed facts follow the Supreme Court’s teachings about

large reverse payments and market power. Once less-expensive generic Aggrenox belatedly

entered in June 2015, it quickly captured a large share of sales of the brand and caused prices for

dipyridamole/aspirin to plummet. See Expert Report of Jeffrey J. Leitzinger, Feb. 26, 2016, at ¶

28 (“Leitzinger Decl.”). Even defendants’ own expert, Dr. Addanki, concedes that brand drugs

are able to command a “premium price” until a generic enters and offer the same product at a

discount. Addanki Decl. at ¶¶ 9, 15. This undisputed end to BI’s pricing power from generic

entry vividly shows BI’s ability to control the price of dipyridamole/aspirin by delaying that

entry. Relevant market definitions or discovery about the relevant market cannot change that.

       Nor can defendants’ suggestion that Aggrenox faced price competition prior to generic

entry. Perhaps Aggrenox did face some degree of price competition. Even if that is true, it is

undisputed that whatever price competition Aggrenox might have faced was insufficient to cause

prices of dipyridamole/aspirin to fall to the competitive levels to which the parties agree generic

Aggrenox competition caused them to fall. Again, BI’s power to prevent those price drops by

delaying generic Aggrenox entry is, by definition, market power. No competition from a drug

other than generic Aggrenox was ever capable of causing dipyridamole/aspirin prices to fall to

those low levels, and neither defendants nor their experts suggest otherwise.           Discovery

concerning those other drugs cannot change the fact that, by delaying generic Aggrenox entry, BI

kept control of dipyridamole/aspirin pricing.       Discovery concerning those other drugs is

therefore irrelevant. The only market power discovery that is necessary, in addition to the size of

the reverse payment, is discovery that permits a comparison between BI’s Aggrenox prices

before generic competition and BI, Teva, and other generics’ dipyridamole/aspirin prices after



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generic competition began.

       In response to the overwhelming reasons why market definition is irrelevant, defendants

offer dubious economic analysis by Dr. Addanki to create a veneer of a true factual dispute. But

there is no true dispute and no need for discovery. Defendants say R&D costs matter, but

although ordered to show cause to justify the discovery they seek, BI has failed to put forward its

actual R&D costs for Aggrenox, instead relying on generalized and highly criticized studies of

how much was spent to develop other drugs.

       Moreover, for all of the smoke and mirrors in his report, Dr. Addanki concedes that prior

to generic entry, BI could command a “premium” price, Addanki Decl. at ¶¶ 9, 15; that, despite

defense claims that promotion and R&D benefits consumers, such spending ultimately enables

the brand to “charge a higher price than it might otherwise have been able to charge,” by

differentiating the product from other branded products, id. at ¶ 11, and that the brand cannot

sustain premium pricing once an AB-rated generic enters at a discounted price. Id. at ¶ 15.5

       And the fact that promotional efforts by the brand only strengthen BI’s ability to charge

supracompetitive prices illustrates why the Cellophane fallacy is in full play here. BI is already

exercising market power. The Cellophane fallacy acknowledges that even at monopolistic

prices, a firm may face some limited measure of price competition. Order to Show Cause at 2

n.1. It is that effect that is observed in the small selection of indirect purchasers’ documents

cited by defendants, and it is precisely for that reason that one cannot use drug pricing before the

entry of generic Aggrenox as a baseline to define and assess whether substantial market power is

being exercised.


5
  Although Dr. Addanki insists that R&D and promotion efforts benefit consumers, he admits
that a brand company is unable to sustain pricing to support these alleged benefits following
generic entry.

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       In sum, defendants have offered nothing necessitating the extensive discovery they seek

from plaintiffs.

                                      II.    ARGUMENT

       A.      A Large Reverse Payment Shows Market Power, Without Resort to
               “Relevant Market” Discovery

       Market power is the ability to control price or restrict output (for instance, by excluding

competition). See, e.g., United States v. Grinnell Corp., 384 U.S. 563, 571 (1966) (defining

monopoly power as “the power to control prices or exclude competition”) (internal quotes and

citation omitted); Geneva Pharm. Tech. Corp., 386 F.3d at 500 (market power “can be proven

directly through evidence of control over prices or the exclusion of competition”); id. at 496

(“The goal in defining the relevant market is to identify the market participants and competitive

pressures that restrain an individual firm's ability to raise prices or restrict output.”); N.Y. v.

Anheuser-Busch, Inc., 811 F. Supp. 848, 871 (E.D.N.Y. 1993) (“Market power is the ability to

raise unilaterally prices and profitably maintain those prices above competitive levels and/or

restrict output in the market.”).

       Defendants note that a plaintiff in a rule of reason case must prove market power

(Response at 6), but a plaintiff can establish market power via either direct (control over pricing

or output) or indirect proof (share of a relevant market). See, e.g., Geneva Pharm., 386 F.3d at

500 (market power “can be proven directly through evidence of control over prices or the

exclusion of competition, or it may be inferred from a firm's large percentage share of the

relevant market.”).6 In FTC v. Ind. Fed’n of Dentists, 476 U.S. 447 (1986), the Supreme Court

made clear that “elaborate market analysis” is not required where direct evidence of


6
 See also Direct Purchaser Class Pls.’ Surreply Mem. In Opp’n To Defs.’ Mot. To Compel
Product Market Discovery, ECF No. 396 at 2 n.1 (collecting cases).

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anticompetitive effects (e.g., higher prices due to the challenged conduct) is available. Id. at

460-61. The Court reaffirmed this principle in Actavis, 133 S. Ct. at 2236, where it explained

that direct evidence of anticompetitive effects is sufficient to show market power. The Court

noted that the fact of the large payment itself is a “‘strong indicator of [market] power.’” See id.

at 2236 (citation omitted).

       While defendants suggest that market power must also be proven separately from a large

reverse payment under Actavis (Response at 6), there is no support for this. On the contrary,

leading antitrust scholars Professors Herbert Hovenkamp, Scott Hemphill, Carl Shapiro and

Aaron Edlin interpret Actavis as dispensing with the necessity of a showing of market power

(much less a relevant market), because a large reverse payment is a proxy for such power:

       Under the Court’s focused rule-of-reason inquiry, no separate showing of market
       power is necessary. Economically, this is appropriate. Market power is but a
       proxy to identify when anticompetitive effects are plausible. As the Court points
       out, market power may likewise be inferred from payment size, and without any
       need to define a relevant market. A producer in a highly competitive market
       would not pay anything to keep a rival out because price-cost margins are already
       low and keeping one firm out would not improve that situation. In contrast, a firm
       with market power typically will enjoy high margins, and protecting those
       margins by excluding rivals can be very valuable. Following this logic, a large
       reverse payment indicates that market power exists, just as it indicates that the
       settlement is anticompetitive.

Aaron Edlin, Scott Hemphill, Herbert Hovenkamp, and Carl Shapiro, Activating Actavis, 28

ANTITRUST 16, 17 (Fall 2013) (emphasis added) (citing Actavis, 133 S. Ct. at 2237).        What is

relevant is whether there is a large reverse payment, which indicates that the value of keeping out

a generic competitor is high, which in turn reveals the pricing control (i.e., market power) the

brand company is exercising. See Leitzinger Decl. at ¶¶ 34-35; see also Areeda and Hovenkamp,

ANTITRUST LAW ¶ 2046d4 (Supp. 2015). Discovery of the “relevant market” is not necessary to

conduct, or rebut, this analysis.



                                                 6
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       B.      Higher Prices As a Result of Delayed Generic Competition Show Market
               Power, Without Resort to “Relevant Market” Discovery

       Even without Actavis’s observation that a large reverse payment demonstrates market

power, defendants would still be wrong that a showing of market power separate from

overcharges is necessary. This is a case under Section 1 of the Sherman Act, and the Second

Circuit has expressly held that in such a case market power is not a separate element:

       Plaintiffs bear the initial burden to demonstrate an actual adverse effect on
       competition. We have not required proof of market power in § 1 cases. If
       plaintiff can demonstrate an actual adverse effect on competition... there is no
       need to show market power in addition.

Geneva Pharm. Tech. Corp., 386 F.3d at 509 (emphasis added). Plaintiffs will show the actual

adverse effect in this case by demonstrating that as a consequence of delayed generic Aggrenox

competition brought about by BI’s reverse payment to Teva/Barr, prices for dipyridamole/aspirin

were higher than they otherwise would have been. That higher prices show anticompetitive

effects is uncontroversial. Actavis, 133 S. Ct. at 2236 (maintenance of supracompetitive prices is

the anticompetitive effect of a reverse payment); Rome Ambulatory Surgical Ctr. v. Rome Mem.

Hosp., 349 F. Supp. 2d 389, 409 (N.D.N.Y 2004) (“Plaintiff may demonstrate actual adverse

effects on the market by a showing reduced output, increased prices, decreased quality, or the

imposition of entry barriers.”). Higher prices are overcharges. In re DDAVP Direct Purchaser

Antitrust Litig., 585 F.3d 677, 689 (2d Cir. 2009) (“overcharges are the difference between the

defendants’ supra-competitive price and the competitive price”). There is no need for “relevant

market” discovery to show or rebut overcharges, and defendants do not argue otherwise.


       C.      Direct Evidence of “Before and After” Pricing Shows Market Power,
               Without Resort to “Relevant Market” Discovery

       Even if a showing of market power in addition to a large reverse payment must be made

under Actavis, plaintiffs can amply demonstrate the existence of BI’s market power via direct

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proof, rendering irrelevant the “relevant market” discovery that defendants are requesting.

         Defendants had previously disputed whether market power could be proven via direct

proof, but now concede the point. Response at 6. And while defendants cite cases where direct

proof was unavailable, those cases did not arise in the pharmaceutical context,7 where the price-

reducing effects of generic entry have been well-studied and documented and are available in the

form of sales data for brand and generic Aggrenox in this very case.          In fact, in the only

pharmaceutical case decided by the Court of Appeals assessing the viability of direct proof of

market power, the Second Circuit explicitly held that “plaintiffs’ pricing proof may of course be

indicative of monopoly power.” Geneva, 386 F.3d at 500.8 Defendants also accuse plaintiffs of

advancing a single-product market,9 but as plaintiffs have already successfully argued in

opposing defendants’ motion to dismiss, because plaintiffs are not alleging that just BI’s sales of

Aggrenox is the relevant market (Teva and other generics’ sales of generic Aggrenox are, too),

the argument is misplaced.10

         Direct proof of market power is more probative than taking burdensome “relevant

market” discovery. The Court of Appeals has held that evidence of “an actual adverse effect on


7
 See, e.g., Heerwagen v. Clear Channel Commc’ns, 435 F.3d 219, 227 (2d Cir. 2006); Harrison
Aire, Inc. v. Aerostar Int’l, Inc., 423 F.3d 374 (3d Cir. 2005); United States v. Microsoft Corp.,
253 F.3d 34, 51 (D.C. Cir. 2001).
8
  While the Court in Geneva may have found the evidence lacking in that case because of the
lack of “any analysis of [defendant’s] costs,” that was not a reverse payment agreement case, and
in any event plaintiffs offer precisely that sort of proof here.
9
    Response at 7.
10
   ECF No. 175 at 65 n.161 (citing Todd v. Exxon Corp., 275 F.3d 191, 200 n.3 (2d Cir. 2001)
(single product market cases “would be applicable to this case if plaintiff were alleging that
Exxon alone constitutes the relevant product market, but plaintiff does not so allege”) and Xerox
Corp. v. Media Scis. Int’l, Inc., 511 F. Supp. 2d 372, 384 (S.D.N.Y. 2007) (“the replacement
solid ink sticks themselves are not single brand products in that both plaintiff and defendant
manufacture and market them”)). See also id. at 65-66 & nn. 162-163 (cases where the market
was properly limited to the brand and generic versions of a single drug).

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competition… arguably is more direct evidence of market power than calculations of elusive

market share figures[.]” Todd, 275 F.3d at 206. The Seventh Circuit has also expressly rejected

the notion that a plaintiff must prove a high share within a relevant market:

       TRU seems to think that anticompetitive effects in a market cannot be shown
       unless the plaintiff, or here the Commission, first proves that it has a large market
       share. This, however, has things backwards. As we have explained elsewhere, the
       share a firm has in a properly defined relevant market is only a way of estimating
       market power, which is the ultimate consideration.

Toys “R” Us, Inc. v. F.T.C., 221 F.3d 928, 937 (7th Cir. 2000). We reviewed these cases for the

Court in our opposition to defendants’ motion to dismiss. ECF No. 175 at 57-60, 70-71. The

Court agreed with this analysis, writing “when direct evidence is available that a party profitably

charges supracompetitive prices, the existence of market power can be established from that fact

alone.” In re Aggrenox Antitrust Litig., No. 3:14-md-2516, 2015 U.S. Dist. LEXIS 35634, at *52

(D. Conn. Mar. 23, 2015).

       Plaintiffs intend to show, as we have done in innumerable past cases, that the difference

between the higher Aggrenox prices that class members actually paid and the lower

dipyridamole/aspirin prices that they would have paid had generic competition not been delayed

shows an actual adverse effect on competition. “Relevant market” discovery can neither prove

those pricing effects nor refute them.

       D.      Specific Answer to Question No. 1: “Whether an antitrust plaintiff’s proof of
               overcharges (which, by definition, constitutes proof of supracompetitive
               prices) necessarily proves market power, because the extraction of
               supracompetitive prices is itself an exercise of market power?”

       The answer is “yes.” The substantial fall in prices for dipyridamole/aspirin following the

beginning of generic Aggrenox competition powerfully demonstrates BI’s control over the price

of Aggrenox, and hence, BI’s market power. The analysis of that substantial fall in prices does

not simply involve looking at BI’s branded Aggrenox price and inferring market power, as


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defendants suggest. Rather, it involves tracing dipyridamole/aspirin prices before, and then after,

generic Aggrenox entry, and analyzing the timing, dynamics, and magnitude of that fall, to

evaluate the control over pricing (i.e., market power) that the delay in generic Aggrenox

competition conferred upon BI.


               1.     BI Was Able to Price Its Product Above the Competitive Level and
                      Enjoyed Abnormally High Profit Margins

        Market power is “the power to charge prices higher than the competitive level.” Actavis,

133 S. Ct. at 2236.11 Competitive price levels must be assessed within a “purely competitive

market,” that is, a market without the alleged restraint in place. Berkey Photo, Inc. v. Eastman

Kodak Co., 603 F.2d 263, 272 (2d Cir. 1979) (“competitive level” is the “socially optimal level

that would prevail in a purely competitive market” because “[t]here is little disagreement that a

profit-maximizing monopolist will maintain his prices higher and his output lower” than such a

level). Overcharges are “the difference between the defendants’ supra-competitive price and the

competitive price.”     DDAVP, 585 F.3d at 689.           “The ability profitably to charge a

supracompetitive price indicates market power[.]” Areeda and Hovenkamp, ANTITRUST LAW ¶

506d.

        Here, in just the few months following (belated) generic entry, the price of

dipyridamole/aspirin fell by 36%, and 75% of the market converted to the lower priced generic




11
   See also NCAA v. Bd. of Regents of Univ. of Oklahoma, 468 U.S. 85, 109 n.38 (1984)
(“[m]arket power is the ability to raise prices above those that would be charged in a competitive
market”); U.S. Anchor Mfg., Inc. v. Rule Indus., Inc., 7 F.3d 986, 994 (11th Cir. 1993)
(“Monopoly power is the power to raise prices to supra-competitive levels or … the power to
exclude competition in the relevant market either by restricting entry of new competitors or by
driving existing competitors out of the market”) (quotes omitted); D. Carlton and J. Perloff,
MODERN INDUSTRIAL ORGANIZATION 8 (3d ed. 2000) (“The ability to price profitably above the
competitive level is referred to as market power”).

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product. See Leitzinger Decl. at ¶ 30.12 This pattern conforms with numerous and repeated

studies of the pharmaceutical industry bearing out the same pattern – prices for the drug fall

following generic entry, and purchasers switch from the brand product to the less expensive

generic. See Leitzinger Decl. at ¶¶ 23-28. After the generic enters, the price starts to fall to

competitive levels, that is, to prices closer to the marginal cost of producing the drug. And the

Second Circuit has explicitly noted that “plaintiffs’ pricing proof may of course be indicative of

monopoly power.” Geneva, 386 F.3d at 500. What is required to analyze this drop to the

competitive level of dipyridamole/aspirin prices is transactional sales and adjustments (returns,

chargebacks, etc.) data from defendants and other generic Aggrenox sellers.              Discovery

concerning the “relevant market” is not necessary to perform the analysis, nor does it have the

capacity to rebut it.

        Defendants claim that supracompetitive pricing on its own is not be sufficient to

demonstrate market power. See Response at 9. That is incorrect, but no matter: if necessary

plaintiffs can show supranormal profits, too. 13

                                   See Leitzinger Decl. at ¶ 33.14 Margins of such magnitude

indicate market power. See id.; see also In re Ciprofloxacin Hydrochloride Antitrust Litig., 363

F. Supp. 2d 514, 523 (E.D.N.Y. 2005) (95% price drop following generic entry indicated an

“abnormally high price-cost margin[.]”). More important to the issue before the Court, no

12
  These figures are preliminary (only a small amount of data is available at this early date), and
the generic discount (relative to brand price) typically increases substantially over time.
Plaintiffs eagerly await defendants’ production of sales and adjustment data under Rule 26(e).
13
  The Court in Geneva declined to rely on the plaintiff’s proffer of direct proof due to the
absence of “any analysis of Barr’s costs.” 386 F.3d at 500. Plaintiffs have adduced precisely
such information here.
14
  The analysis was performed based on figures for 2006-10. Defendants have not yet produced
profit and loss information through the present. These documents are within defendants’
possession, and yet they did not discuss their own cost information in their Response.

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discovery of “relevant market” is required to establish or rebut BI’s margins.


               2.     R&D and Promotional Costs Are Not Relevant to the Market Power
                      Analysis

       Obviously knowing that Aggrenox in fact does earn supranormal profits, defendants try

to lower those margins by raising the measure of their costs, citing supposed research and

development and promotional costs (but curiously not Aggrenox’s). But consideration of fixed

or sunk costs is not appropriate. See Areeda and Hovenkamp, ANTITRUST LAW ¶ 520b2 (Supp.

2015) (“[W]hile high fixed costs may both explain and justify high margins... that observation

says nothing about the antitrust significance of payments to another firm to stay out of one’s

market.”).

       In general, as a matter of law and economics, it is inappropriate to include sunk costs

when evaluating defendants’ market power. Market power generally looks to a firm’s marginal

cost, that is, the added cost associated with producing and selling the last or incremental unit of

output. See Leitzinger Decl. at ¶ 31; see also In re Se. Milk Antitrust Litig., 739 F.3d 262, 277

(6th Cir. 2014) (“Market power is defined as the ability to charge a supracompetitive price—a

price above a firm's marginal cost.”) (citing Herbert Hovenkamp, FEDERAL ANTITRUST POLICY:

THE LAW OF COMPETITION AND ITS PRACTICE, §§ 3.1, 3.1a (4th ed. 2011)).

       In general, a firm that is able to price above marginal cost profitably indicates that

competitors’ ability to capture customers is limited. See Leitzinger Decl. at ¶¶ 31-32. In certain

cases, ongoing fixed costs might be included in the analysis, see, e.g., United States v. Eastman

Kodak Co., 63 F.3d 95, 109 (2d Cir. 1995), but historical or sunk costs do not impact forward-

looking pricing decisions and therefore are irrelevant to whether a firm currently maintains

market power. See F. Scherer “The Pharmaceutical Industry--Prices and Progress,” 351 NEW

ENG. J. MED. 927, 928 (2004) (“Sunk research-and-development costs [in the pharmaceutical

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industry] are bygones and are therefore irrelevant in current pricing decisions.”).

       Moreover, rather than negating a finding of market power, BI’s ability to recoup its R&D

suggests that it is exercising market power. Indeed, the patent laws and the Hatch Waxman Act

are specifically designed to give the brand company market power:            the ability to charge

premium prices as an incentive to engage in R&D. See New York v. Actavis PLC, 787 F.3d 638,

644 (2d Cir. 2015). Thus, a drug firm that is able to recapture its sunk R&D as a result of Hatch-

Waxman is enjoying the benefits of its ability to exclude potential (and less expensive) generic

competitors. Cf. United States v. Line Material Co., 333 U.S. 287, 305 (1948) (holder of valid,

non-infringed patent had right to “control of the sale price of the patented devices.”). It may not

extend that exclusivity by paying otherwise ready, willing, and able generic competitors to delay

entry into the market under the rubric of “fixed cost recovery.”

       Promotional costs are likewise irrelevant, and for an additional reason:         promotion

increases market power, by lowering the price elasticity of demand for the drug. See John A.

Rizzo, Advertising and Competition in the Ethical Pharmaceutical Industry: The Case of

Antihypertensive Drugs, 42 J.L. & ECON. 95, 99-100, 104-05, 107 (1999); Fiona M. Scott

Morton, Barriers to Entry, Brand Advertising, and Generic Entry in the U.S. Pharmaceutical

Industry, 18 INT’L J. INDUS. ORG. 1085, 1097 (2000). Dollars spent on advertising thus make the

price for the drug inelastic, tending to increase the firm’s market power. Leitzinger Decl. at ¶¶

6, 49-50.   Dr. Addanki agrees, noting that such spending permits the brand to “charge a higher

price than it might otherwise have been able to charge,” id. at ¶ 11, and that the brand cannot

sustain premium pricing once an AB-rated generic enters at a discounted price. Id. at ¶ 15.

       Finally, although the Court put defendants to the proof why the discovery they seek is

necessary, and although the “relevant market” discovery sought from plaintiffs has zero to do



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with BI’s costs (which are known to BI and not to plaintiffs), it is notable that defendants have

not provided the R&D costs for Aggrenox. Rather, they have cited to generalized (and much

criticized) studies purportedly estimating R&D costs for some set of new, unidentified drugs at

the cost of $2.6 billion. But the record is devoid of what BI spent to develop Aggrenox, a

follow-on combination product composed of two long-since discovered, older drugs

(dipyridamole, approved by the FDA in 1961 as “Persatine,” having been discovered by BI in the

1950s; and aspirin, invented in 1897). The $2.6 billion figure that defendants cite is highly

misleading and irrelevant to the facts here.15 The actual price to research and develop Aggrenox,

to the extent it is even relevant, is far lower than the figure cited by defendants.

               3.      Showing A Restriction on Output Is Unnecessary

       Defendants also suggest that, to show BI’s market power, plaintiffs must show not only

that BI was able to control the price of dipyridamole/aspirin, but also that BI restricted output.

Of course, nothing about the “relevant market” discovery sought by defendants shows restricted

or enhanced output of dipyridamole/aspirin. Moreover, such a showing of restricted output is

15
   First, the $2.6 billion figure is based on drugs that are original developments by the brand firm.
In other words, the study (and predecessor studies by the same authors) focus on the most
expensive drugs. See Aaron E. Carroll, $2.6 Billion to Develop a Drug? New Estimate Makes
Questionable Assumptions, N.Y. TIMES (Nov. 18, 2014); Marcia Angell, THE TRUTH ABOUT
DRUG COMPANIES 42 (2004). Second, the methodology behind the estimates has been criticized
for inter alia: (1) calculating “opportunity costs” based on hypothetical returns on alternate
investments for R&D expenditures; (2) failing to recognize that much of the initial research for
new chemical entities is performed by the National Institutes of Health or universities; and (3)
ignoring R&D-related tax credits received by pharmaceutical firms. See The Truth About Drug
Companies at 44-65. See generally Merrill Goozner, THE $800 MILLION PILL: THE TRUTH
BEHIND THE COST OF NEW DRUGS (2004); Donald W. Light & Rebecca Warburton,
Demythologizing the High Costs of Pharmaceutical Research, BIOSOCIETIES, Mar. 2011, at 34-
50. Hence, the actual price to research and develop a drug is likely far lower than the figure
cited by defendants. For instance, one of the authors of the study that defendants cite, Henry G.
Grabowski, admitted in a prior case that the R&D costs for the brand drug Neurontin were $225
million, yet the drug earned $12.5 billion in sales. See Declaration of Daniel C. Simons, Exh. 1,
In re Gabapentin Patent Litig., Civ. A. No. 00-2931 (FSH) (D.N.J.), Trial Tr. May 19, 2011, at
25.

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superfluous on the issue of market power, when evidence of control over prices is abundant.

       First, the Supreme Court in its seminal decision in U.S. v. E.I. duPont de Nemours & Co.,

held that “[m]arket power is defined as the power to control prices or exclude competition.” 351

U.S. 377, 391 (1956) (emphasis added). See also United States v. Grinnell Corp., 384 U.S. 563,

571 (1966) (market power is the “the power to control prices or exclude competition.”)

(emphasis added); Geneva, 386 F.3d at 500 (same). A restriction of output is not a necessary

prerequisite to a finding of harm to competition or market power; the power to raise price is

sufficient. E.g., Geneva, 386 F.3d at 496 (“The goal in defining the relevant market is to identify

the market participants and competitive pressures that restrain an individual firm’s ability to raise

prices or restrict output.”) (emphasis added); Rebel Oil Co. v. Atlantic Richfield Co., 51 F.3d

1421, 1438 n.10 (9th Cir. 1995) (“restrict output or raise prices”) (emphasis added); Ryko Mfg.

Co. v. Eden Servs., 823 F.2d 1215, 1232 (8th Cir. 1987) (“restrict output or raise prices”)

(emphasis added); Ball Mem’l Hosp., Inc. v. Mutual Hosp. Ins., Inc., 784 F.2d 1325, 1331 (7th

Cir. 1986) (“the power to restrict output in the market or to raise price”) (emphasis added);

Marathon Oil Co. v. Mobil Corp., 669 F.2d 378, 380 (6th Cir. 1981) (“market power [is] the

power to raise prices above or restrict output below levels that would occur in a competitive

marketplace”) (emphasis added).

       Second, even if reduced output were required, BI’s demonstrated ability to delay the

market entry of potential generic rivals by making a reverse payment directly manifests its ability

to exclude competitors and reduce their output. That is what matters. “A high payment to

another firm to stay out of one’s market is typically... an indicator that the payor gains from

excluding the output of a rival.” Areeda & Hovenkamp, ANTITRUST LAW ¶ 520b2.

       Third, the ability to control prices is inherently the ability to restrict output. See Fortner



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Enters, Inc. v. U.S. Steel Corp., 394 U.S. 495, 503 (1969) (“reduced output is the almost

inevitable result of higher prices”); Berkey Photo, 603 F.2d at 272 (“There is little disagreement

that a profit-maximizing monopolist will maintain his prices higher and his output lower [than]

the socially optimal levels that would prevail in a purely competitive market”); In re ATM Fee

Antitrust Litig., No. C 04–2676 CRB, 2010 WL 2557519, *10-11 (N.D. Cal. June 21, 2010)

(“because price and output are inversely correlated,” proof of supracompetitive prices “implies

that marketwise output... has been lower than it would have been”).

       E.      Question No. 2: “[W]hether, in this case (or in any case brought under FTC
               v. Actavis, Inc., 133 S. Ct. 2223 (2013)), an allegation of supracompetitive
               prices can be proved or disproved directly with sales and pricing data
               regarding only the allegedly supracompetitively priced product and its
               generic(s)”

       The answer is “yes.” As described above, market power can be proved or disproved with

defendants’ (and other generic drug companies’) transactional sales and adjustments data. Such

data can be used to demonstrate directly BI’s market power over dipyridamole/aspirin because

that data directly shows BI’s power over dipyridamole/aspirin prices, and the end to that power

when generic Aggrenox belatedly entered the market.             Plaintiffs’ economic expert, Dr.

Leitzinger, says exactly this. Leitzinger Decl. ¶¶ 21-30.

       Either alternatively or in addition to permitting a direct examination of the price effects of

generic Aggrenox competition (and drawing the conclusions those observations compel in terms

of BI’s control over prices), the transactional sales data and other data can also allow an

economist to use the well-known Lerner Index to determine whether BI has (or had) market

power. As Dr. Leitzinger explains:

       From this perspective, a Lerner Index that is substantially above zero can provide
       direct evidence that a firm has substantial market (monopoly) power. In
       particular, one would not expect to observe a firm charging prices that were
       consistently and substantially in excess of marginal costs unless it was profitable
       to do so. The fact that prices reflecting a substantial premium over marginal costs
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       have proved profitable for the firm in question would mean that the ability of
       competition to divert customers is meaningfully limited. As noted above, that is
       the very definition of monopoly power.

Id. at ¶ 32 (footnote omitted).16

       F.      Question No. 3: “[W]hether, in such a case, an explicit articulation of (and
               discovery and argument on) antitrust market definition is necessary or
               material”

       The answer is “no.” As plaintiffs have set forth extensively above, if plaintiffs are able to

prove their case through direct proof of a large reverse payment or direct proof of

anticompetitive effects (here, higher dipyridamole/aspirin prices as a result of the challenged

conduct), there is no additional need to define the relevant market to prove market power, nor

can discovery over the relevant market rebut that direct proof. E.g., Geneva, 386 F.3d at 509

(“We have not required proof of market power in § 1 cases.”); Todd, 275 F.3d at 206 (evidence

of “an actual adverse effect on competition … arguably is more direct evidence of market power

than calculations of elusive market share figures[.]”); K.M.B. Warehouse Distributors, Inc. v.

Walker Mfg. Co., 61 F.3d 123, 129 (2d Cir. 1995) (“This court has not made a showing of market

power a prerequisite for recovery in all § 1 cases. If a plaintiff can show an actual adverse effect

on competition… we do not require a further showing of market power.”).

       Indeed, given that “the anticompetitive effects of [delaying generic entry] cannot be

seriously debated,” Valley Drug Co. v. Geneva Pharms., Inc., 344 F.3d 1294, 1311 n.27 (11th

Cir. 2003), overruled on other grounds, FTC v. Actavis, Inc., 133 S. Ct. 2223 (2013), were

defendants’ experts to conclude that the market were something other than Aggrenox and its AB-

rated generics, they must necessarily have performed the market definition exercise incorrectly.

For the ultimate goal behind the market power question is to determine whether BI had the

16
  Plaintiffs also continue to request BI’s cost and profit information, if the Court deems such
information necessary to prove market power.

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power to keep prices from falling to the competitive level, something the transactional sales data

will show it did (or did not). See Areeda & Hovenkamp, ANTITRUST LAW ¶ 507a (goods not in

the same market “unless the availability of one effectively limited the price of the other to the

competitive level or something slightly above”).

       And even if conducting a “relevant market” definition exercise were thought to be useful,

there is no need for anything other than defendants’ sales data to perform it. A “relevant market”

is “any grouping of sales whose sellers, if unified by a hypothetical cartel or merger, could

profitably raise prices significantly above the competitive level.” AD/SAT, Div. of Skylight, Inc.

v. Associated Press, 181 F.3d 216, 228-29 (2d Cir. 1999) (citing Areeda and Hovenkamp,

ANTITRUST LAW ¶ 533b (2002)). The market is the “smallest possible group of products” that

satisfies this test. New York v. Kraft Gen. Foods, Inc., 926 F. Supp. 321, 360 (S.D.N.Y. 1995);

Areeda & Hovenkamp, ANTITRUST LAW ¶ 536; U.S. Dep’t of Justice & Federal Trade Comm’n,

HORIZONTAL MERGER GUIDELINES § 1.11 (2010). All that is needed to evaluate this question —

whether BI (or BI and Teva together), by controlling just dipyridamole/aspirin sales and the

sales of no other product, could profitably raise or maintain dipyridamole/aspirin prices

significantly above the competitive levels generic Aggrenox competition belatedly produced —

is transactional sales data from BI, Teva and other generic Aggrenox sellers. Plaintiffs have

already been able to discern that, by delaying generic Aggrenox competition, BI was able to

maintain pre-generic dipyridamole/aspirin prices for the entire period the reverse payment

agreements were in effect. Leitzinger Decl. ¶ 48 n.60.        Relatedly, the record here already

discloses that, even before generic competition belatedly began, BI continued to raise prices for

Aggrenox over the years. Id. If Aggrenox were in the same relevant antitrust product market

with other drugs, these price increases would have by definition led to the evisceration of



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Aggrenox sales when sales and prescriptions switched away from Aggrenox due to those price

increases. Yet, it was only the advent of AB-rated generic competition in June 2015 that caused

Aggrenox to lose 75% of its sales volume. The other “relevant market” discovery defendants

seek cannot confirm or rebut these facts.

       Defendants say that Aggrenox competed with other drugs on therapeutic or other bases.

But it is simply an error to seek to include in the relevant product market pharmaceuticals that

might function similarly to Aggrenox, but which did not constrain Aggrenox prices down to the

competitive level that generic Aggrenox competition produced. See Hayden Pub. Co., Inc. v.

Cox Broadcasting Corp., 730 F.2d 64, 70 (2d Cir. 1984) (district court committed reversible

error in “neglect[ing] the factor of cross-elasticity of demand,” which directs that the court

determine not just functional substitutability, but primarily “how far buyers will go to substitute

one commodity for another”) (emphasis supplied).8 Even close therapeutic equivalents have

been deemed to be in separate markets. See FTC v. Lundbeck, Inc., 650 F.3d 1236, 1240 (8th

Cir. 2011) (because of “low cross-elasticity of demand between Indocin IV and Neoprofen, []

the drugs are not in the same product market,” although they were the only two drugs available

to treat the disease); Geneva, 386 F.3d at 496 (Coumadin and generic warfarin are in separate

markets despite being chemically identical); In re Lorazepam & Clorazepate Antitrust Litig., 467

F. Supp. 2d 74, 81 (D.D.C. 2006) (“The fact that products are just functionally interchangeable

does not compel a finding that they belong in the same market.”). Discovery has to be more

beneficial than burdensome to be allowed, and even if the Court believed that relevant market

discovery was appropriate, unless defendants can show that there was a drug out there that

constrained dipyridamole/aspirin prices down to the levels that generic Aggrenox competition

8
 See also Telecor Commc’ns, Inc. v. Sw. Bell Tel. Co., 305 F.3d 1124, 1132 (10th Cir. 2002)
(“[r]easonable interchangeability does not depend on product similarity”).

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produced, no benefit can be shown.

       Defendants effectively concede the absence of any such benefit. Defendants’ discussion

of competition with branded drugs such as Brilinta (e.g., Response at 35) is largely devoid of

actual price competition. Defendants also frequently mention aspirin (and their request for

aspirin products yield some of the most burdensome discovery requests now at issue), yet

defendants cite no evidence that Aggrenox competed with aspirin on price. This is not a

sufficient basis to warrant discovery from wholesalers, insurers, and other market participants.

       Defendants’ insistence at looking at certain documents from indirect purchasers to

suggest there is global price competition between Aggrenox and other drugs also runs afoul of

the Cellophane fallacy. One cannot use drug pricing before the entry of generic Aggrenox as a

baseline to define and assess whether substantial market power is being exercised. Indeed, the

Cellophane fallacy occurs precisely when one attempts to compare products already priced at

monopolistic levels, i.e., priced above marginal cost. Areeda & Hovenkamp, ANTITRUST LAW ¶

539 (“Actual trading patterns, cross-elasticity, and hypothetical price increases all delineate the

market correctly when actual A prices are at (or near) the competitive level but indicate overly

broad markets when those prices have been significantly supracompetitive. The reason is easy to

see. Buyers may have shifted to the B firms precisely because the A price has been monopolistic

and, therefore, has not been adequately constrained by competition from the B firms. * * * The

observed high ‘cross-elasticity of demand’ between A and B then reflects not the absence of

market power, but its existence and exercise.”). Even for monopolists, there are always sources

of discipline limiting further price increases. All firms, even those presently exercising monopoly

power, face pricing discipline at some level. See Eastman Kodak Co. v. Image Tech. Services,

Inc., 504 U.S. 451, 471 (1992) (“[T]he existence of significant substitution in the event of further



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price increases or even at the current price does not tell us whether the defendant already

exercises significant market power”) (emphasis in original; internal quotes omitted); United

States v. Oracle Corp., 331 F. Supp. 2d 1098, 1121 (N.D. Cal. 2004) (“because a monopolist

exercises market power by increasing price until... a further price increase would be unprofitable,

a high cross-elasticity of demand at current prices... does not demonstrate that the seller lacks

market power”); Richard A. Posner, ANTITRUST LAW 150 (2d ed. 2001) (“[A] monopolist always

tries to sell in the elastic portion of his demand curve” and therefore “at a high enough price,

even poor substitutes look good to the consumer.”).

       Defendants attempt to cabin the Cellophane fallacy to only products that are

differentiated. Addanki Decl. at ¶ 27; Response at 30. There is no support for this limitation.

See Leitzinger Decl. at ¶¶ 47-49. And, as noted above, brand companies’ marketing efforts

already tend to differentiate one branded drug from another, and therapeutic interchangeability

alone is insufficient for inclusion in the relevant market. See supra at 13-14; see also Addanki

Decl. at ¶ 11 (promotion activities may allow “a brand-name manuafacturer… to charge a higher

prices that it might otherwise have been able to charge.”).

       Nor do defendants’ cherry-picked documents from indirect purchasers or insurers change

the story. To the contrary, they simply demonstrate the commission of the Cellophane fallacy.

Even monopolists are forced to compete on price at the periphery, for instance, to retain sales to

price sensitive entities such as certain health plans. But that is a hallmark of the Cellophane

dynamic. Aggrenox prices were raised so high above marginal costs that certain purchasers

sought to switch to less-than-desirable alternatives. But any price effects brought about by such

market interactions are dwarfed by the substantial discounts and market switching associated

with generic entry.



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       G.      GPhA’s Amicus Brief Offers Nothing New

       The Generic Pharmaceutical Association (“GPhA”) has submitted an amicus curiae brief

in response to the January 8, 2016 Order to Show Cause.17 The GPhA previously submitted an

amicus curiae brief in FTC v. Actavis, 133 S. Ct 2223 (2013) in which it urged (unsuccessfully)

the Supreme Court to adopt the “scope of the patent test” that would permit a brand-name drug

company to pay its generic competitors to stay out of the market as long as the agreement not to

compete did not extend beyond expiration of the brand’s patent or the patent was not obtained by

fraud or the basis for sham litigation.18 The GPhA also submitted an amicus curiae brief in King

Drug Company of Florence, Inc., v. SmithKline Beecham Corp., 791 F.3d 388 (3d Cir. 2015) in

which it argued (unsuccessfully) that a brand’s agreement not to market an authorized generic

during the generic’s 180-day exclusivity period was a “common bargaining term” that should not

be considered a “reverse payment.”19

       In its proposed amicus curiae brief in this case, the GPhA states that it “has member

interests that align with each side,” ECF No. 441 at 18, but fails to articulate or explain the

“interests that align” with the plaintiffs here. Presumably, it is the acknowledgement that “GPhA

members save consumers nearly $200 billion each year,” ECF No. 441 at 18 and that GPhA

members “provide American consumers with generic drugs that are as safe and effective as their

brand-name counterparts, but substantially less expensive.” In any event, the proposed brief fails

to provide any “unique information or perspective that can help the court beyond the help the

17
  Br. of Generic Pharm. Ass’n as Amicus Curiae in Support of Defendants in Response to the
Court's January 8. 2016 Order to Show Cause, ECF No. 441, at 5-6.
18
   Br. for Generic Pharm. Ass’n as Amicus Curiae Supporting Resp’ts, FTC v. Actavis, Inc., No.
12-416 (S. Ct.), filed Feb. 28, 2013, available at http://www.scotusblog.com/case-
files/cases/federal-trade-commission-v-watson-pharmaceuticals-inc/ (last visited Feb. 26, 2016).
19
  Br. of Generic Pharm. Ass’n as Amicus Curiae in Support of Defendants-Appellees, In re
Lamictal Direct Purchaser Antitrust Litig., No. 14-1243 (3d Cir.), filed Jun. 3, 2014.

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lawyers for the parties are able to provide,” the GPhA’s statements to the contrary. ECF No. 441

at 3. While the GPhA could have been expected to offer statistical data or studies demonstrating

the price-constraining effect generic entry has on drugs other than the brand -- assuming, of

course, that such data exists -- it has not done so. In fact, the GPhA provides no statistical data

or actual analysis informative of the questions the Court posed. Rather, the brief merely presents

the same argument offered by the lawyers for the defendants that are addressed above.

       H.      Defendants Are Not Entitled to the Burdensome Discovery They Seek

       However the Court ultimately decides the issue regarding methods of proving market

power, defendants are not entitled to the sprawling and overly burdensome discovery that they

seek. There is an obvious disconnect between defendants’ appeal to “due process” and the

discovery sought from the Direct Purchaser Plaintiffs (“DPPs”) – defendants have not

demonstrated that discovery from DPPs is necessary, or even relevant, to their relevant market

theories. Due process does not require that the court impose burdensome discovery requirements

on DPPs in order to satisfy defendants’ speculation that DPPs might have documents that might

be relevant. See, e.g., Brown v. Coleman, 514 Fed. Appx. 6, 9 (2d Cir. 2013) (A party’s

“substantial rights” not infringed by denial of discovery where producing party represented that

the sought information was unavailable); In re “Agent Orange” Prod. Liab. Litig., 517 F.3d 76,

103 (2d Cir. 2008) (substantial rights not infringed by limits on discovery where court

determined that “likely the best source regarding the information” sought was already available

to the movant).20 Defendants’ cited cases do not counsel otherwise, nor divest the court of its


20
   Defendants’ appeal to Rule 56(f) is equally unavailing. The opportunity to take discovery in
response to a motion for summary judgment is not a license for a fishing expedition. Nat’l
Union Fire Ins. Co. of Pittsburgh v. Stroh Cos., 265 F.3d 97, 117 (2d Cir. 2001) (“Even where a
Rule 56(f) motion is properly supported, a district court may refuse to allow additional discovery
if it deems the request to be based on speculation as to what potentially could be discovered.”);
Bonnie & Co. Fashions v. Bankers Trust Co., 945 F. Supp. 693, 706 (S.D.N.Y. 1996) (“while
                                                 23
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discretion to effective manage discovery.21 See In re Subpoena Issued to Dennis Friedman, 350

F.3d 65, 69 (2d Cir. 2003) (“[T]he federal rules give district courts broad discretion to manage

the manner in which discovery proceeds.”); Fed. Hous. Fin. Agency v. UBS Ams. Inc., 2013 U.S.

Dist. LEXIS 92081, *42 (S.D.N.Y. June 28, 2013) (“The Advisory Committee notes show that

Rule 26 has several times been amended with the aim of giving judges the discretion to limit

discovery in the interest of conserving resources, and of encouraging judges to use that discretion.”).

          The irrelevance of DPPs’ data and documents is further supported by defendants’ own

expert. In his report submitted in connection with defendants’ motions to compel, Dr. Addanki

concedes that he has no methodology for which DPPs’ purchase or sales data would be useful.

As Dr. Addanki admitted, DPPs’ data “may be” useful, but he “cannot determine the full

relevance and significance of information that these entities may possess until it is obtained.” 22

“Only by examining the data can it be determined if they are usable for relevant analyses,” he

candidly admits. Id. ¶ 14. Such speculative or theoretical benefits simply do not meet a

discovery proponent’s burden under Rule 26. See, e.g., In re Vitamins Antitrust Litig., 198 F.R.D.

296, 303 (D.D.C. 2000) (denying discovery of direct purchaser data where defendants’ expert

could state only that he was “interested” in such data, and not that it was necessary for his



Rule 56(f) discovery is specifically designed to enable a plaintiff to fill material evidentiary gaps
in its case... it does not permit a plaintiff to engage in a fishing expedition.”) (internal cite and
quotes omitted).
21
   See Columbus-America Discovery Group v. Atlantic Mut. Ins. Co., 974 F.2d 450, 470 (4th Cir.
1992) (while delay from “unnecessary or unreasonable” discovery is to be avoided, it was error
to compel intervenor “to begin trial without any discovery.”); Long Island Lighting Co. v.
Barbash, 779 F.2d 793, 795 (2d Cir. 1985) (district court erred when it ordered party to examine
a witness “without notice or an opportunity to review the documents that had just been
produced”); In re Complaint of Bankers Trust Co., 752 F.2d 874, 890 (3d Cir. 1984) (error when
court abused its “limited discretion to deny applications for the issuance of a commission” to
take discovery abroad) (emphasis in original).
22
     Addanki Decl., at ¶ 12 (emphasis added).

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analysis). Notably, while DPPs pointed out all of these failings months ago, Defendants have not

sought to cure them. In fact, as with their most recent brief, the reports of their experts are

devoid of any mention of documents or data which could be obtained from the DPPs.

       The Court is not obligated to compel discovery where a party represents that relevant

material is unlikely to be found, and the Court should not do so here. See e.g., Crenshaw v.

Herbert, 409 Fed. Appx. 428 (2d Cir. 2011) (substantial rights not impugned where denied

discovery was “highly unlikely” to contain relevant information).


                                      III.    CONCLUSION

       Defendants have failed to demonstrate their need for the far-reaching and burdensome

discovery they seek. Therefore, the Court should “restrict[] discovery and evidence in this case

to the market in Aggrenox and any AB-rated bioequivalent substitute for Aggrenox.” Order to

Show Cause, ECF No. 432 at 2.


Dated: February 26, 2016                               Respectfully Submitted,

                                                       /s/ Joseph Opper

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                               CERTIFICATE OF SERVICE

       I, Joseph Opper, hereby certify that the foregoing Direct Purchaser Class Plaintiffs’ Reply

to Defendants’ Memorandum in Response to the Court’s Order to Show Cause was

electronically filed and served using the Court’s CM/ECF system and via email.

Dated: February 26, 2016                            /s/ Joseph Opper
                                                    Joseph Opper




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